                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                NORTHERN DIVISION

DEFENDERS OF WILDLIFE and                          )
NATIONAL WILDLIFE REFUGE                           )
ASSOCIATION,                                       )
                                                   )
               Plaintiffs,                         )
                                                   )
       v.                                          )
                                                   )
                                                   )
NORTH CAROLINA DEPARTMENT OF                       )
TRANSPORTATION; FEDERAL                            )
HIGHWAY ADMINISTRATION; JOHN F.                                   No. 2:11-cv-35-FL
                                                   )
SULLIVAN, III, Division Administrator,             )
Federal Highway Administration; and                )
ANTHONY J. TATA, Secretary, North                  )
Carolina Department of Transportation,             )
                                                   )
               Defendants,                         )
                                                   )
       and                                         )
                                                   )
CAPE HATTERAS ELECTRIC                             )
MEMBERSHIP CORPORATION,                            )
                                                   )
               Intervenor-Defendant.               )
                                                   )
                                                   )

       JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
        PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(ii)

       Plaintiffs, Defenders of Wildlife and the National Wildlife Refuge Association (the

“Conservation Groups”), Defendants, the North Carolina Department of Transportation

(“NCDOT”), NCDOT Secretary Anthony J. Tata, the Federal Highway Administration

(“FHWA”), FHWA North Carolina Division Administrator John F. Sullivan, and Intervenor-

Defendant, Cape Hatteras Electric Membership Corporation (“Intervenor-Defendant”)

(collectively “the Parties”), hereby stipulate to dismissal of this case with prejudice pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(ii).




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       The Parties stipulate as follows:

       1) The Conservation Groups challenged the FHWA’s December 20, 2010 Record of

            Decision for the Bonner Bridge project under the National Environmental Policy Act

            of 1969, 42 U.S.C. § 4321-4347, and Section 4(f) of the Department of

            Transportation Act. Dkt. 1.

       2) This Court entered summary judgment in favor of Defendants on September 16,

            2013. Dkt 99. Plaintiffs appealed from that decision to the U.S. Court of Appeals for

            the Fourth Circuit. The Fourth Circuit affirmed in part, reversed in part and

            remanded to this Court. Defenders of Wildlife v. NCDOT, 762 F.3d 374 (4th Cir.

            2014).

       3) The Parties subsequently entered into confidential settlement negotiations and

            reached an out of court settlement. A copy of the Settlement Agreement is attached

            to this dismissal solely to provide notice of the settlement but for no other purpose.

            The Parties agree that this matter is dismissed without any further judicial review.

       4) The Settlement Agreement sets forth certain obligations to be accomplished by

            Defendant NCDOT prior to dismissal of this case. The Defendant NCDOT

            represents and all Parties, including Plaintiffs, agree that NCDOT has now fulfilled

            all of those obligations.

       Therefore, the Parties jointly stipulate to voluntarily dismiss the above captioned case

with prejudice. Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), no judicial action is

required.




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Respectfully submitted this 11th day of August, 2015.


                      /s/ Derb S. Carter
                      Derb S. Carter
                        N.C. State Bar No. 10644
                        derbc@selcnc.org
                      Nicholas S. Torrey
                        N.C. State Bar No. 43382
                        ntorrey@selcnc.org
                      Kimberley Hunter
                        N.C. State Bar No. 41333
                        khunter@selcnc.org
                      Southern Environmental Law Center
                      601 West Rosemary Street, Suite 220
                      Chapel Hill, NC 27516-2356
                      Tel: (919) 967-1450
                      Fax: (919) 929-9421
                      Attorneys for Plaintiffs


                      /s/ Scott T. Slusser
                      Scott T. Slusser
                      Special Deputy Attorney General
                      N.C. State Bar No. 24527
                      sslusser@ncdoj.gov
                      Thomas D. Henry
                      Assistant Attorney General
                      N.C. Bar No. 33431
                      thenry@ncdoj.gov
                      North Carolina Department of Justice
                      1 South Wilmington Street
                      Raleigh, NC 27601
                      Tel: (919) 707-4480
                      Fax: (919) 733-9329
                      Attorneys for North Carolina Department of Transportation
                      and Secretary Anthony J. Tata


                      United States Attorney
                      Matthew L. Fesak
                      Assistant United States Attorney
                      Civil Division
                      310 New Bern Avenue
                      Suite 800 Federal Building
                      Raleigh, NC 27601-1461

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               Tel: (919) 856-4530
               Fax: (919) 856-4821
               Email: matthew.fesak@usdoj.gov
               NC Bar No. 35276


               /s/ Cynthia S. Huber
               Cynthia S. Huber
               Assistant Section Chief
               United States Department of Justice
               Environment and Natural Resources Division
               Natural Resources Section
               P.O. Box 7611
               Washington, DC 20044-7611
               Tel: (202) 514-5273
               Fax: (202) 353-0506
               cynthia.huber@usdoj.gov
               Attorneys for Federal Defendants


               /s/ Wyatt M. Booth
               Wyatt M. Booth
               Vandeventer Black LLP
               P.O. Box 2599
               Raleigh, NC 27602-2599
               Tel: (919) 754-1171
               Fax: (919) 754-1317
               Counsel for Intervenor




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                                 CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing Joint Stipulation of Voluntary
Dismissal With Prejudice with the Clerk of Court using the CM/EMF system, which will send
notification of such filing to the following:

       Scott T. Slusser                                      Environment & Natural Resources
       Thomas D. Henry, II                                   Division
       Colin A. Justice                                      P.O. Box 7611
       North Carolina Department of                          Washington, DC 20044-7611
       Justice, Transportation Section                       Counsel for Federal Defendants
       1505 Mail Service Center
       Raleigh, NC 27699-1505                                Norman W. Shearin
       Counsel for State Defendants                          David P. Ferrell
                                                             Wyatt Booth
       Matthew Lee Fesak                                     Vandeventer Black LLP
       Assistant U.S. Attorney for the                       P.O. Box 2599
       Eastern District of North Carolina,                   Raleigh, NC 27602-2599
       Civil Division                                        Counsel for Intervenor
       310 New Bern Avenue
       Federal Building, Suite 800                           Patrick A. Genzler
       Raleigh, NC 27601-1461                                Vandeventer Black LLP
       Counsel for Federal Defendants                        101 West Main Street
                                                             500 World Trade Center
       Cynthia Huber                                         Norfolk, VA 23510
       U.S. Department of Justice                            Counsel for Intervenor



This 11th day of August, 2015.

                              /s/ Nicholas S. Torrey
                              Nicholas S. Torrey
                              N.C. State Bar No. 43382
                              SOUTHERN ENVIRONMENTAL LAW CENTER
                              601 West Rosemary Street, Suite 220
                              Chapel Hill, NC 27516-2356
                              Telephone: (919) 967-1450
                              ntorrey@selcnc.org
                              Attorney for Plaintiffs




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